Case 1:19-cv-09236-KPF Document 220-7 Filed 07/28/22 Page 1 of 16




                Exhibit 7
        Case 1:19-cv-09236-KPF Document 220-7 Filed 07/28/22 Page 2 of 16




July 14, 2022


BY EMAIL

Kyle W. Roche
ROCHE FREEDMAN LLP
99 Park Avenue
New York, NY 10016
kyle@rochefreedman.com

Philippe Z. Selendy
SELENDY GAY ELSBERG PLLC
1290 Sixth Avenue
New York, NY 10104
pselendy@selendygay.com

Todd M. Schneider
SCHNEIDER WALLACE
COTTRELL KONECKY LLP
2000 Powell Street
Emeryville, CA 94608
tschneider@schneiderwallace.com


Re:        In re Tether and Bitfinex Crypto Asset Litig.,
           No. 19 Civ. 9236 (KPF) (S.D.N.Y.)


Dear Kyle:

We write on behalf of Defendants iFinex Inc., BFXNA Inc., BFXWW Inc., Tether
Holdings Limited, Tether Limited, DigFinex Inc., Tether Operations Limited, Tether
International Limited, Ludovicus Jan van der Velde and Giancarlo Devasini (the
“B/T Defendants”) in response to your July 7, 2022 letter and to follow up on our
July 8, 2022 discussion regarding search terms.

   I.      Plaintiffs’ Proposed Search Terms

We appreciate that, in Plaintiffs’ July 1, 2022 email, you identified the specific
RFP(s) to which each of your proposed search terms is purportedly tied. As we
       Case 1:19-cv-09236-KPF Document 220-7 Filed 07/28/22 Page 3 of 16


Kyle W. Roche                             2                              July 14, 2022



discussed on July 8 and in prior telephone calls, the B/T Defendants do not agree
with Plaintiffs’ approach to search terms.

The sole purpose of search terms is to identify documents that will be reviewed in
order to produce documents in response to specific RFPs. Contrary to Plaintiffs’
suggestions, search terms do not represent an alternative to serving RFPs and
negotiating the scope of production in response. Accordingly, the B/T Defendants do
not agree to use search terms that (i) have no significant connection to the identified
RFP, (ii) are purportedly tied to RFPs in response to which the B/T Defendants
objected and did not agree to produce documents or (iii) are purportedly tied to RFPs
that do not require the use of search terms, such as requests for which the B/T
Defendants agreed to produce “documents sufficient to show.”

Merely as a few examples:

      Plaintiffs rely heavily on RFP 63, pursuant to which the parties agreed that
       the B/T Defendants will produce non-privileged documents, to the extent
       such documents exist and can be located after a reasonable search, that relate
       to any business strategy, plan, or directive of the B/T Defendants relating to
       the timing of issuance or transfer of USDT to any U.S. Exchange Defendant
       for the purchase of cryptocommodities. But a number of the search terms
       that Plaintiffs claim are tied to RFP 63 have no discernable connection to that
       request – e.g., “private address*”; “Ethereum* AND USDT”; “Crash* w/10
       (Tether* OR USDT)”; “Declin* w/10 (Tether* OR USDT)”; “Drop* w/10
       (Tether* OR USDT)”; “Suspicious* w/10 (Tether* OR USDT)”.1

      “Call w/3 (me OR you)” is a common expression unconnected to the
       identified RFPs. The same is true of other proposed terms such as: “‘end of
       month’ or EOM”; “EURT”; “Transfer* w/10 (USDT OR Tether OR token)”.
       Plaintiffs’ unsupported speculation that an individual involved in misconduct
       might say “call me” in order to avoid a written record of communications is
       insufficient to justify the use of such a search term.

      Plaintiffs also tie numerous search terms to RFPs for which the B/T
       Defendants agreed to produce “documents sufficient to show,” including but
       not limited to RFPs 4-7, 12-15, 21, 66-68, 77. Responding to such RFPs does
       not require the use of search terms. Similarly, we do not intend to use search
       terms in responding to RFPs 8-10.


  1
       These terms – like many of Plaintiffs’ proposed search terms – are also
       problematic for the obvious reason that “Tether” appears in the name of
       Tether Holdings Limited, Tether Limited, Tether Operations Limited and
       Tether International Limited.
         Case 1:19-cv-09236-KPF Document 220-7 Filed 07/28/22 Page 4 of 16


Kyle W. Roche                               3                               July 14, 2022



        Plaintiffs tie numerous search terms to RFPs for which no agreement to
         produce documents has been reached, including but not limited to RFPs 1,
         22-25, 31, 36, 43-44, 46, 51-52, 69-71. With respect to RFP 31, the
         purported basis for more than sixty search terms, Defendants objected to,
         among other things, the enormous scope of the request for “[a]ll Documents
         relating to Your funds or Reserves at any bank or any other financial
         institution.” Plaintiffs have refused to limit the scope of RFP 31 in any way,
         and the B/T Defendants have agreed, in connection with other RFPs, to
         provide documents sufficient to establish USDT reserves.

Attached to this letter is a line-by-line response to Plaintiffs’ proposed search terms.
In order to move this process forward, we have endeavored to be as flexible as
possible and have accepted numerous search terms that are deeply problematic. To
be clear, agreement to any search terms at this stage is purely for the purpose of
providing an initial hit report. It is not an agreement to use any search terms for
purposes of document review or production, and we continue to believe that many of
Plaintiffs’ proposed search terms are extremely broad and/or have only an attenuated
(at best) connection to the identified RFP(s).

If you have any questions about particular search terms, please let us know.

   II.      Time Period

Plaintiffs’ “best and final offer” set forth in your July 7 letter is not significantly
different from Plaintiffs’ prior position and remains unsupported and unacceptable.
The B/T Defendants proposal is already very generous: the production documents
created from February 17, 2015 through October 6, 2019, the date on which this
action was commenced. That time period already extends well beyond the last
allegation of wrongdoing in the CAC.

Plaintiffs’ July 7 letter – like previous letters – fails to identify any facts alleged in
the CAC indicating any continuing misconduct. Paragraph 76 of the CAC merely
presents a chart purportedly illustrating the “close relationship between prices of
bitcoin and bitcoin futures on the CME from December 2017 until February 2020.”
And paragraphs 372-74 allege only that Tether continues to issue USDT, that Tether
stated that the growth of USDT was in response to an “opportunity for big
institutions and funds to make money,” and that Tether surpassed a market
capitalization of $5 billion. Those allegations do not suggest any misconduct and do
not justify continuing discovery beyond the filing of this lawsuit. Nor does the cited
statement by the Court suggest any ongoing misconduct: “Cryptocommodities make
up a distinct market – which has grown exponentially since its establishment – and
had a total market capitalization of over $176 billion in June 2020.” In re Tether &
Bitfinex Crypto Asset Litig., 2021 WL 4452181, at *6 (S.D.N.Y. Sept. 28, 2021)
(citing CAC ¶ 64).
          Case 1:19-cv-09236-KPF Document 220-7 Filed 07/28/22 Page 5 of 16


Kyle W. Roche                              4                              July 14, 2022



   III.      Custodians

In the spirit of compromise, and in an attempt to make progress in our discussions,
we agreed to include Stuart Hoegner, the General Counsel of Bitfinex and Tether, as
a custodian to the extent that he communicated with an external third party. And, as
previously noted, we will also review other documents that include Mr. Hoegner
through our review of documents collected from the fourteen other custodians. This
is an eminently reasonable approach that avoids unnecessarily imposing on the B/T
Defendants the substantial burden of reviewing and logging large numbers of
privileged documents.

Your July 7 letter asks that we “identify the process by which you would determine
which documents you would exclude from review.” We have already done so: we
will review Mr. Hoegner’s documents that were communicated to an external third
party as described in our May 17 and June 30 letters. We will also be reviewing
communications to and from Mr. Hoegner to the extent they are included in the
review of documents from the 14 other document custodians.

If your review of Mr. Hoegner’s documents indicate that you are missing important,
non-privileged documents, we can discuss further at that time.

   IV.       Plaintiffs’ Requests for Production

RFPs 8-10

Our June 30 letter memorialized the parties’ agreement that the B/T Defendants will
produce non-privileged communications, to the extent such documents exist and can
be located after a reasonable search, with Crypto Capital, the U.S. Exchange
Defendants, Phil Potter and/or Reginald Fowler on the same topics the parties agreed
to for RFP 2. We explained that, with respect to Mr. Potter, this production would be
for the period after he left Bitfinex/Tether. Mr. Potter’s communications from the
period while he was at Bitfinex/Tether are excluded for the same reason that the
parties agreed to exclude Ludovicus Jan van der Velde and Giancarlo Devasini from
RFPs 8-10: he is already an agreed custodian.

RFP 37

Plaintiffs’ July 7 letter inquires whether the B/T Defendants will provide documents
relating to all loans of USDT to any “Defendant, Specified Individual/Entity, and
Anonymous Trader.” The B/T Defendants have agreed to produce documents
sufficient to show loans of USDT, including the amount of USDT loaned, the
identity of the recipient of the loan, and the amount and type of collateral received in
exchange for the loan, either (i) between Bitfinex and Tether or (ii) by the B/T
Defendants to any U.S. Exchange Defendant or the Anonymous Trader.
      Case 1:19-cv-09236-KPF Document 220-7 Filed 07/28/22 Page 6 of 16


Kyle W. Roche                              5                              July 14, 2022



The B/T Defendants do not agree to provide documents relating to all loans of USDT
(if any) to the Specified Individuals/Entities, which were defined in Plaintiffs’ May 6
letter as the individuals and entities identified in RFPs 27, 36 and 38-51. Plaintiffs
have not provided any basis for such a request.

RFP 41

Our June 30 letter accurately states that Plaintiffs had agreed not to pursue RFP 41,
which seeks documents relating to Paycase Financial, while reserving all rights.
Plaintiffs stated that position during the parties’ March 31 telephone call, which we
memorialized in our April 4 letter. In any event, the B/T Defendants do not agree to
produce documents in response to this RFP.

RFPs 52 & 56

During our April 8 meet and confer, we stated that we would consider running search
terms in connection with RFPs 52 and 56, but we did not commit to doing so. With
respect to the Paradise Papers, Plaintiffs allege in the CAC that they revealed that
Bitfinex and Tether have overlapping officers and directors. (CAC ¶ 156.) The
identity of the officers and directors of Bitfinex and Tether is not in dispute and does
not require or justify discovery of all documents relating to the Paradise Papers.

As to “Mt. Gox,” Plaintiffs allege fraudulent trading activity by individual not
involved in this lawsuit in 2013, which predates the time period relevant to this
lawsuit. (CAC ¶ 84-88.) That Mr. Devasini is alleged to have once referenced
Mt. Gox on a message board does not justify discovery of all documents relating to
Mt. Gox. Nonetheless, as a compromise, the B/T Defendants will agree to run
“Mt. Gox,” “Willybot” and “Willy Bot” as search terms for purposes of an initial hit
report.



Best regards,

/s/ Elliot Greenfield
         Case 1:19-cv-09236-KPF Document 220-7 Filed 07/28/22 Page 7 of 16




Search Term                                               Responsive RFPs (Plaintiffs)
audit w/10 Tether                                         RFP No. 11
Tether w/10 transparency                                  RFP No. 26
“conflict of interest” or “conflicts of interest”         RFP No. 34
(2016 w/15 hack* OR theft* OR unauthorize* OR transfer*   RFP No. 35
OR stolen) and (reserve* OR redem* or redeem*)
“ABT & Trust”                                             RFP No. 31
260011499                                                 RFP No. 31
“Bank of America” OR BofA                                 RFP No. 31
898100395306                                              RFP No. 31
“Bank of Colorado”                                        RFP No. 31
5701063413                                                RFP No. 31
“Bank of Montreal”                                        RFP No. 31
“Bank of New York Mellon” OR “BNY Mellon”                 RFP No. 31
BnkToTheFuture OR “Bnk to the Future”                     RFP No. 31
“Bank of Communications”                                  RFP No. 31
“Banco Portuges de Investimento”                          RFP No. 31
“Bank of the Philippine Islands”                          RFP No. 31
2-5486163.306.001                                         RFP No. 31
Spoldzielczy                                              RFP No. 31
Kaohsiung                                                 RFP No. 31
230510006385 OR 230509006380                              RFP No. 31
Bankinter                                                 RFP No. 31
Caixa                                                     RFP No. 31
0216076478170 OR 0216076477370 OR 0216076476570           RFP No. 31
OR 0786071416230 OR 0786071414070
OR 0216076111170 OR 0216075956230 OR
0216076490070
“Canadian Imperial Bank of Commerce” OR CIBC              RFP No. 31
“CC001006882 5108411” OR “CC001006882 0374016”            RFP No. 31
OR “CC001099702 4464710” OR “CC001099702
4113411” OR “CC001099702 4097513” OR
“CC001099702 4210719”
Cathay                                                    RFP No. 31
33087700408                                               RFP No. 31
Citibank OR Citi                                          RFP No. 31
         Case 1:19-cv-09236-KPF Document 220-7 Filed 07/28/22 Page 8 of 16




Search Term                                         Responsive RFPs (Plaintiffs)
207112962 OR 207129503 OR 207132333 OR 206618910    RFP No. 31
OR 207139809 OR 207139817 OR 207134933 OR
207132325 OR 207134958 OR 42024768923 OR
42001787749 OR 42024769061 OR 57457749 OR
9945530933 OR 207108689
Deltec                                              RFP No. 31
“Deutsche Bank”                                     RFP No. 31
DE78660700240057016801 OR                           RFP No. 31
DE51660700240057016802 OR 192057016802
“Enterprise Bank”                                   RFP No. 31
1127548 OR 1241367 OR 1127564 OR 1127177 OR         RFP No. 31
1127193 OR 1128700 OR 1128727 OR 1127599 OR
1235784 OR 1127652 OR 1127644
“First Commercial Bank”                             RFP No. 31
20386001075                                         RFP No. 31
Hwatai                                              RFP No. 31
3.366E+12                                           RFP No. 31
“HSBC Bank” OR “HSBC Securities” OR Pershing        RFP No. 31
861668 OR 141000147                                 RFP No. 31
ING                                                 RFP No. 31
“JP Morgan Chase” OR JPMC OR Chase                  RFP No. 31
296219550 OR 779558365                              RFP No. 31
KGI                                                 RFP No. 31
18580071208                                         RFP No. 31
“Metropolitan Bank”                                 RFP No. 31
“Noble Bank”                                        RFP No. 31
“Pekao Bank”                                        RFP No. 31
“Sackville Bank and Trust”                          RFP No. 31
Santander                                           RFP No. 31
00080753 OR 10379431 OR 10446319 OR 10446322        RFP No. 31
“Shanghai Pudong Development”                       RFP No. 31
“Signature Bank”                                    RFP No. 31
“Stearns Bank”                                      RFP No. 31
“Sun Trust”                                         RFP No. 31
810455498 OR 209364251 OR 1000211769301             RFP No. 31
“Shin Kong”                                         RFP No. 31



                                         2
       Case 1:19-cv-09236-KPF Document 220-7 Filed 07/28/22 Page 9 of 16




Search Term                                                 Responsive RFPs (Plaintiffs)
4.99128E+11                                                 RFP No. 31
Taishin                                                     RFP No. 31
68760022865                                                 RFP No. 31
TCA Investment Bancorp & Trust Company                      RFP No. 31
“TD Bank”                                                   RFP No. 31
4350649188                                                  RFP No. 31
“US Bank”                                                   RFP No. 31
“Wells Fargo” OR WF                                         RFP No. 31
2514680467                                                  RFP No. 31
“@bitfinexed”                                               RFP No. 35, 48
“Authorized Tokens”                                         RFP No. 7
“bank account” w/5 (Tether or USDT)                         RFP No. 31
“Bitcoin Management Solutions”                              RFP No. 47
“Celsius Network” or Celsius w/5 (invest* or investment*)   RFP No. 69
“Crypto Capital” OR “Crypto SP. Z.O.O.” or “Crypto SP       RFP Nos. 10, 27, 30
ZOO” OR “Global Trading Solutions”
“don't have enough” w/5 (Tether OR USDT)                    RFP No. 15
“End of month” or EOM                                       RFP Nos. 11, 12, 13, 14, 15
“Flash Crash”                                               RFP Nos. 11, 12, 18, 19, 56, 63
“Friedman LLP”                                              RFP No. 48
“Galaxy Benchmark”                                          RFP No. 36
“Galaxy Digital”                                            RFP No. 36
“Global trading”                                            RFP No. 27
“Jump Trading”                                              RFP No. 51
“Master Fund LP”                                            RFP No. 36
“Mega International”                                        RFP Nos. 3, 14, 31, 32
“Mt. Gox”                                                   RFP No. 56
“Noble Markets”                                             RFP No. 40
“not 1:1”                                                   RFP Nos. 7, 14, 15
“not enough” w/5 (tether or USDT)                           RFP Nos. 7, 14, 15
“not tethered” OR un-tethered                               RFP No. 54
“Paradise Papers”                                           RFP No. 52
“Potter Ventures”                                           RFP No. 47
“Quantifying the Effect of Tether”                          RFP No. 53




                                              3
      Case 1:19-cv-09236-KPF Document 220-7 Filed 07/28/22 Page 10 of 16




Search Term                                                 Responsive RFPs (Plaintiffs)
“Shyft Network”                                             RFP No. 43
“Smart Property Solutions”                                  RFP No. 46
(“Tether Authorizer” OR Tether) w/5 authorization           RFP Nos. 5, 7, 13
“Tether Report”                                             RFP No. 53
(“USDT” w/5 (equal* OR equat*)) w/15 (USD OR dollar*)       RFP Nos. 7, 14, 15
“USDT/USD” w/5 “trading pair”                               RFP Nos. 11, 12, 13,16, 17, 18,
                                                            19
(“White paper” w/15 (“USDT” OR Tether OR token*))     RFP Nos. 3, 5, 14, 31, 32
w/15 (equat* OR back* OR equal* OR hold OR dollar* OR
bank* OR account* OR fiat OR currenc* OR reserve* OR
cash)
“Willy Report” OR “WillyBot”                                RFP No. 56
“Bitcoin Really Un-Tethered”                                RFP No. 54
“cat and mouse”                                             RFP 10, 12, 31, 47, 66,
“Crypto Capital”                                            RFP Nos. 10, 27, 30
“fully back*” and “fully-back*”                             RFP Nos. 7, 14, 15
“Global Trade Solutions” or GTS*                            RFP Nos. 27, 60
“not backed”                                                RFP Nos. 7, 14, 15
“price floor”                                               RFP Nos. 18, 19, 56
“private address*”                                          RFP Nos. 37, 63
“Smart Property Solutions” or SPS*                          RFP No. 46
(“Off exchange” OR “off-exchange” OR private OR “over-      RFP No. 24
the-counter” or “over the counter” or “OTC”) w/5
(transaction* OR arrangement* OR platform* OR
exchange*)
(“Treasury wallet*” OR “Tether treasury” ) w/15 Bitfinex    RFP Nos. 72, 74
w/15 (Tether OR “USDT”)
(“1:1” OR “one to one”) w/15 (Stablecoin OR “Stable coin”   RFP Nos. 7, 14, 15
OR token OR “USDT” OR Tether)
(“Know Your Customer” OR “know-your-customer” OR            RFP No. 66
KYC OR “anti-money laundering” OR AML) w/15 (polic*
OR procedur* OR complian* OR train OR Manual OR
Notice)
((Account* OR maintain*) w/15 (“USDT” OR Tether))           RFP Nos. 12, 14, 15
w/15 (dollar* OR bank* OR account* OR fiat OR currenc*
OR valu* ORreserve* OR balance OR “commercial
paper*”)




                                              4
      Case 1:19-cv-09236-KPF Document 220-7 Filed 07/28/22 Page 11 of 16




Search Term                                              Responsive RFPs (Plaintiffs)
(Account* OR Track* OR monitor* OR maintain*) w/15        RFP Nos. 12, 14, 15
(“USDT” OR Tether) w/15 (issu* OR redeem* OR
redemption*)
(Agreement* OR contract*) w/25 (Bittrex OR Polo!)         RFP No. 60
Urriola OR (Ana w/2 Pan)                                  RFP No. 39
((Bolivar w/2 Jose) w/2 Gonzalez) OR (Bolivar w/2         RFP No. 39
Gonzalez)
(Bump* OR Crash* OR Drop* OR Jump* OR Spike* OR           RFP No. 18, 19, 56, 63
Floor) w/15 (price OR value OR Bitcoin OR BTC)
(Burn* OR giv* OR destroy*) w/15 (“USDT” OR Tether        RFP Nos. 6, 11
OR token)
(Data OR email) w/5 host* w/15 (polic* OR procedur* OR    RFP No. 68
complian* OR train* OR Manual OR Notice)
(Document OR email) w/5 (retain or retention) w/15 (polic* RFP No. 77
OR procedur* OR complian* OR train* OR Manual)
(Investigat* OR inquir* OR Finding* OR report* OR case* RFP Nos. 1, 2
OR audit*) w/15 (“New York AG” OR “New York
Attorney General” OR “NY Attorney General” OR NYAG
OR “NY AG” OR “Commodities Futures Trading
Commission” OR CFTC OR (Dep* w/2 Justice) OR DOJ or
“Exchange Commission” OR SEC
(Guarant* OR promis* OR assur*) w/15 (“1:1” OR “one to    RFP Nos. 7, 14, 15
one” OR “1-1” OR tethered OR redeem* OR exchang*)
(Hamid w/2 Reza) OR (Hamid w/2 Khoyi)                     RFP No. 46
(Inflat* OR spik* OR manipulat* OR stabiliz* OR floor     RFP No. 18
OR return* OR Solven* OR use*) w/15 (bitcoin OR
demand OR market* OR customer* OR price* OR valu*)
(Ivan w/2 (Manuel OR Molina OR Lee)                       RFP No. 39
(mov* OR manipulat*) w/10 (price OR Market)               RFP No. 18
(Print* OR issu* OR creat*) w/15 (“USDT” OR Tether OR     RFP Nos. 4, 5, 59, 61, 62
token)
(Raise* OR request*) w/5 (prospectus* OR “private         RFP Nos. 70, 71
placement” OR PPM OR solicit* OR invest*)
(Redeem* OR redempt*) w/10 (“USDT” or Tether OR           RFP No. 6
token)
(Stablecoin OR “Stable coin” OR token OR “USDT” OR        RFP Nos. 16, 17, 18
Tether) w/15 (equat* OR back* OR equal* OR hold*) w/25
(dollar* OR bank* OR account* OR fiat OR currenc* OR
valu* OR reserve*)




                                             5
       Case 1:19-cv-09236-KPF Document 220-7 Filed 07/28/22 Page 12 of 16




Search Term                                                Responsive RFPs (Plaintiffs)
(support w/3 price) w/3 (bitcoin OR BTC)                   RFP No. 63
((Tether OR Bitfinex OR Digfinex) w/15 (“Crypto Capital”   RFP No. 27
OR “Global Trade Solutions”)) w/25 reserve* OR operat*
OR manag*)
(time OR Coordinat*) w/10 (mint* OR issu* OR Poloniex      RFP No. 63
OR Bittrex OR Reggie OR Fowler)
((Track* OR monitor* OR maintain*) w/15 (polic* OR         RFP Nos. 12, 14, 15
procedur* OR process* OR “manual process”)) w/15
(“USDT” OR Tether OR reserv* OR account* OR issu*
OR redeem* OR mint*)
(USDT OR Tether) w/5 address* w/15 (Omni OR Eth* OR        RFP No. 21
Tron OR EOS OR Liquid* OR Algo* OR SLP OR Sol*)
“@bitfinex_”                                               RFP No. 20, 35, 48
@brockpierce                                               RFP No. 50
1-to-1*                                                    RFP Nos. 7, 14, 15
12cgpFdJViXbwHbhrA3TuW1EGnL25Zqc3P                         RFP No. 28
13vHWR3iLsHeYwT42RnuKYNBoVPrKKZgRv                         RFP No. 28
15ovrfyRTbhqeUkgAqAwtscXDASmietmcJ                         RFP No. 28
16tg2RJuEPtZooy18Wxn2me2RhUdC94N7r                         RFP No. 28
17A16QmavnUfCW11DAApiJxp7ARnxN5pGX                         RFP No. 28
17sHnqeQcwvfPneJkmaTBAQEnQN82yi7ye                         RFP No. 28
19-cv-09236*                                               RFP Nos. 16, 17, 18, 19
19-mc-00022*                                               RFP No. 3
1A6yDZj1241qtGzEeQWRaptxVEhzz5owLP                         RFP No. 28
1A9AUhKv6aLrKGAdwMM9aHXECZM9uQivZK                         RFP No. 28
1AA6                                                       RFP No. 28
1AA6iP6hrZfYiacfzb3VS5JoyKeZZBEYRW                         RFP No. 28
1AanEM2PU6GS7krwxaysKP3scwb3fdioyE                         RFP No. 28
1CEZ4sjk7MUt3LSJi7bRvvbMZvGLWKCa1G                         RFP No. 28
1Co1dhYDeF76DQyEyj4B5JdXF9J7TtfWWE                         RFP No. 28
1DEcTtkrbdXxS1wbrMvzub5X4VpByYmAwo                         RFP No. 28
1DUb2YYbQA1jjaNYzVXLZ7ZioEhLXtbUru                         RFP No. 28
1F6nNgCTLcR4abWuMs1CHUWYNcnJ47tvbc                         RFP No. 28
1Fdz3iQDDA6mJVoAV4ZcqgVFe1MX97EZoD                         RFP No. 28
1G6jMfQotd6rV8VkMFNx4hPXYHioeBdquf                         RFP No. 28
1GjgKbj69hDB7YPQF9KwPEy274jLzBKVLh                         RFP No. 28



                                             6
        Case 1:19-cv-09236-KPF Document 220-7 Filed 07/28/22 Page 13 of 16




Search Term                                            Responsive RFPs (Plaintiffs)
1H48Bp7EGELgnGSVYKdiCuSo6n822mVmHg                     RFP No. 28
1Hi1hyJpUeETGBTQ8aPZ69GBL8xBVV53XP                     RFP No. 28
1J1d                                                   RFP No. 28
1J1dCYzS5EerUuJCJ6iJYVPytCMVLXrgM9                     RFP No. 28
1J8fgfPwn4dsxLiA5BnUkzHoubPJ6q5q8g                     RFP No. 28
1KBXtTQnEgU34xXchwvmAoX7o5qZAp3xF                      RFP No. 28
1Kr6QSydW9bFQG1mXiPNNu6WpJGmUa9i1g                     RFP No. 28
1KYiKJEfdJtap9QX2v9BXJMpz2SfU4pgZw                     RFP No. 28
1LJjvsEN9ZzeBVPB4XbhS7mxg99gBAPoMB                     RFP No. 28
1LSgEKji3ZoGdvzBgkcJMej74iBd38fySb                     RFP No. 28
1MZAayfFJ9Kki2csoYjFVRKHFFSkdoMLtX                     RFP No. 28
1N52wHoVR79PMDishab2XmRHsbekCdGquK                     RFP No. 28
1NTMakcgVwQpMdGxRQnFKyb3G1FAJysSfz                     RFP No. 28
1NUyryQe1cQYmqg5bjwWNFXA8T1M6htSQ                      RFP No. 28
1PCwER7f57fkPq2kuR9rYV7Wpr1LYvFWsA                     RFP No. 28
1Po1oWkD2LmodfkBYiAktwh76vkF93LKnh                     RFP No. 28
3BbDtxBSjgfTRxaBUgR2JACWRukLKtZdiQ                     RFP No. 28
3D2oetdNuZUqQHPJmcMDDHYoqkyNVsFk9r                     RFP No. 28
3MbYQMMmSkC3AgWkj9FMo5LsPTW1zBTwXL                     RFP No. 28
agree w/15 (flow OR USDT OR Tether OR mint* OR issu*   RFP Nos. 7, 11, 14, 15
OR Poloniex OR Bittrex OR Reggie OR Fowler)
Arbitrage                                              RFP No. 28
Artific* /15 (Bitcoin OR Bitcoin Cash OR BTC OR Omni   RFP Nos. 4, 5, 21, 59, 61, 62
OR Eth* OR Tron OR EOS OR Liquid* OR Algo* OR
SLP OR Sol* OR Tether! OR USDT OR drop! OR crash!)
Back w/5 (tether or USDT)                              RFP Nos. 7, 11, 14, 15
[Name of “Anonymous Trader]                            RFP No. 28
Betts                                                  RFP Nos. 31, 40
(Bitfinex w/5 print*) w/5 Tether                       RFP Nos. 4, 61, 62, 64
Bittrex                                                RFP Nos. 9, 61, 62, 63, 64, 65
Brock w/2 Pierce                                       RFP No. 50
Bubble w/15 (bitcoin OR market OR price)               RFP No. 63
call w/3 (me OR you)                                   RFP 18, 60




                                           7
      Case 1:19-cv-09236-KPF Document 220-7 Filed 07/28/22 Page 14 of 16




Search Term                                             Responsive RFPs (Plaintiffs)
Catastroph* w/15 (Bitcoin OR BTC OR Omni OR Eth* OR RFP No. 21
Tron OR EOS OR Liquid* OR Algo* OR SLP OR Sol* OR
Tether* OR USDT OR drop* OR crash*)
(Chris w/2 Ellis) AND (Tweet or twitter OR warrant OR   RFP No. 49
subpoena)
Conspir* w/10 (Tether* OR USDT)                         RFP No. 60
Conspir* and (Bitcoin OR BTC OR Omni OR Eth* OR         RFP No. 21
Tron OR EOS OR Liquid* OR Algo* OR SLP OR Sol*)
Control* w/15 (pric* OR BTC OR bitcoin OR flow OR       RFP Nos. 21, 22, 23, 24, 25, 72,
Demand OR Market)                                       74
Crash* w/10 (Tether* OR USDT)                           RFP No. 63
Crash* /15 (Bitcoin OR BTC OR Omni OR Eth* OR Tron      RFP No. 63
OR EOS OR Liquid* OR Algo* OR SLP OR Sol*)
Crypto* w/15 future*                                    RFP Nos. 12, 17
CryptoCapital                                           RFP Nos. 10, 27, 30
D'Amico                                                 RFP No. 31
Daniel w/2 Barrs                                        RFP No. 44
Debas* w/15 (Bitcoin OR BTC OR Omni OR Eth* OR          RFP Nos. 21, 63
Tron OR EOS OR Liquid* OR Algo* OR SLP OR Sol*)
Debas* w/10 (Tether* OR USDT)                           RFP Nos. 21, 63
Deceit* w/15 (executive* OR CEO OR director* OR CFO     RFP No. 8
OR Velde OR Ardoino OR Devasini OR Warrack OR
Bitfinex* OR Potter)
Declin* w/10 (Tether* OR USDT)                          RFP Nos. 21, 63
Declin* w/15 (Bitcoin OR BTC OR Omni OR Eth* OR         RFP Nos. 21, 63
Tron OR EOS OR Liquid* OR Algo* OR SLP OR Sol*)
Demand* w/10 (Tether* OR USDT)                          RFP Nos. 21, 63
Demand* w/15 (Bitcoin OR BTC OR Omni OR Eth* OR         RFP Nos. 21, 63
Tron OR EOS OR Liquid* OR artificial or appearance)
Disconnect* w/15 (Supply OR Demand)                     RFP No. 18, 19, 56, 63
disrupt* w/10 (Tether* OR USDT)                         RFP No. 18, 19, 56, 63
disrupt* w/15 (Bitcoin OR BTC OR Omni OR Eth* OR        RFP Nos. 21, 63
Tron OR EOS OR Liquid* OR Algo* OR SLP OR Sol*)
Downturn* w/10 (Tether* OR USDT)                        RFP Nos. 21, 63
Downturn* w/15 (Price OR Demand OR Bitcoin OR BTC       RFP Nos. 21, 63
OR Omni OR Eth* OR Tron OR EOS OR Liquid* OR
Algo* OR SLP OR Sol* )




                                            8
       Case 1:19-cv-09236-KPF Document 220-7 Filed 07/28/22 Page 15 of 16




Search Term                                             Responsive RFPs (Plaintiffs)
Drop* w/10 (Tether* OR USDT)                            RFP Nos. 21, 63
Drop* /15 (Price OR Demand OR Bitcoin OR Bitcoin Cash   RFP Nos. 21, 63
OR BTC OR Omni OR Eth* OR Tron OR EOS OR
Liquid* OR Algo* OR SLP OR Sol*)
Epay* /15 (Bitcoin OR Bitcoin Cash OR BTC OR Omni       RFP Nos. 21, 63
OR Eth* OR Tron OR EOS OR Liquid* OR Algo* OR
SLP OR Sol* OR Tether! OR USDT OR drop! OR crash!)
Ethereum* AND USDT                                      RFP Nos. 21, 63
EURT*                                                   RFP Nos. 21, 22, 23
Fals* w/15 (supply OR demand OR signal)                 RFP No. 18, 19, 56, 63
Fangorn                                                 RFP No. 47
Fowler*                                                 RFP No. 10
Fraud* AND USDT                                         RFP Nos. 7, 11, 14, 15
Freeh w/2 Sporkin                                       RFP No. 57
Griffin                                                 RFP No. 54
https://tether.to/en/tether-update                      RFP Nos. 66, 67, 68
https://tether.to/en/transparency                       RFP Nos. 66, 67, 68
https://tether.to/faqs/                                 RFP Nos. 66, 67, 68
Illegal* AND (trad* OR manipul* OR inflat*)             RFP Nos. 18, 63
Indict* AND (Tether* OR USDT)                           RFP No. 1
Inflat* AND (Bitcoin OR ether OR crypto*)               RFP Nos. 7, 11, 14, 15
Insufficient w/5 (Tether OR USDT)                       RFP Nos. 7, 11, 14, 15
Investigat!                                             RFP No. 1
IOU                                                     RFP No. 7, 51
Loan AND USDT                                           RFP Nos. 37, 71
Loan* w/10 (token OR “USDT” OR Tether)                  RFP Nos. 37, 71
Manipulat* AND (bitcoin OR ether*) AND USDT             RFP Nos. 18, 63
Mint* w/15 (“USDT” OR Tether OR token)                  RFP Nos. 4, 5, 59, 61, 62
Misrepresent* /15 (asset* OR backing OR reserve OR      RFP Nos. 11, 12, 14, 15, 32, 65
liquid*)
Monopol*                                                RFP No. 67
New w/5 (Tether OR USDT)                                RFP Nos. 7, 11, 14, 15
One-for-one                                             RFP Nos. 7, 11, 14, 15
Org* w/5 (chart OR structure)                           RFP No. 33
Oz w/2 Yosef                                            RFP No. 45




                                              9
      Case 1:19-cv-09236-KPF Document 220-7 Filed 07/28/22 Page 16 of 16




Search Term                                                 Responsive RFPs (Plaintiffs)
Peg* w/5 (Tether OR USDT)                                   RFP Nos. 4, 5, 59, 61, 62
Pinchas w/2 (Goldshtein OR Goldstein)                       No specific RFP
Poloniex                                                    RFP Nos. 9, 61, 62, 63, 64, 65
Print w/3 money                                             RFP Nos. 4, 5, 59, 61, 62
print* w/5 (Tether or USDT)                                 RFP Nos. 4, 5, 59, 61, 62
prop* w/3 up*                                               RFP No. 63
Purchas* w/5 (Tether OR USDT)                               RFP Nos. 4, 5, 59, 61, 62
Realcoin w/15 (equat* OR back* OR equal*) w/25 (dollar*     RFP No. 7, 14, 31
OR bank* OR account* OR fiat OR currenc* OR reserve*
OR cash)
Reggie OR Reginald OR Fowler                                RFP No. 10
Releas* w/5 (Tether OR USDT)                                RFP Nos. 4, 5, 59, 61, 62
Reserv* w/15 (cash or liquid or currency or sufficient or   RFP Nos. 7, 11, 14, 15
insufficient or paper or illiquid)
Reserv* w/5 (Tether or USDT)                                RFP Nos. 7, 11, 14, 15
(Spike* w/15 (demand or trad* OR price)) w/10 (Tether*      RFP No. 63
OR USDT)
(Spike* w/15 (demand or trad* OR price)) w/15 (Bitcoin      RFP No. 63
OR BTC OR Omni OR Eth* OR Tron OR EOS OR
Liquid* OR Algo* OR SLP OR Sol* OR Drop* OR
Crash*)
Suspicious* w/10 (Tether* OR USDT)                          RFP No. 63
Suspicious* w/15 (Bitcoin OR BTC OR Omni OR Eth* OR RFP No. 63
Tron OR EOS OR Liquid* OR Algo* OR SLP OR Sol* OR
spike or increase)
Tetherreport.com*                                           RFP No. 53
Trade* w/5 (Strategy OR Pattern)                            RFP Nos. 4, 5, 59, 61, 62
Transfer* w/10 (“USDT” OR Tether OR token)                  RFP Nos. 59, 63
Un-tether*                                                  RFP No. 54
Unback*                                                     RFP Nos. 7, 11, 14, 15
Undisclos* /15 (relationship or connection or tie* or       RFP No. 60
arrangement)
Unfund*                                                     RFP Nos. 7, 11, 14, 15
Untether*                                                   RFP No. 54




                                               10
